
                                    (;+,%,7%
                                        
                    ,17+(81,7('67$7(6%$1.5837&<&2857
                       )257+(:(67(51',675,&72)7(;$6
                              6$1$1721,2',9,6,21
                                                  
    ,QUH                                        &+$37(5&$6(
                                                  
    35$&6,167,787(6$1$1721,2                  &$6(12
    //&et al.,                                  
                                                   -RLQWO\$GPLQLVWHUHG 
                'HEWRUV         
                                                 
                                                 
               6(&21'(;7(1'('35(6(59$7,21(/(&7,21)250
                                                 
7KLV6HFRQG([WHQGHG3UHVHUYDWLRQ(OHFWLRQ)RUPLVVXEPLWWHGE\$OYRJHQ,QFDQG$OYRJHQ
3LQH%URRN//& IRUPHUO\$OYRJHQ3LQH%URRN,QF  ³6SRQVRU´ SXUVXDQWWRSDUDJUDSKRI
WKHMOTION TO EXTEND THE EXTENDED PRESERVATION PERIOD UNDER THE ORDER
GRANTING MOTION TO EXTEND ORDER GRANTING TRUSTEE’S MOTION FOR AP-
PROVAL OF THE TRANSFER OF CUSTODY OF CERTAIN SPONSOR PROPERTY TO
LACHMAN CONSULTANT SERVICES, INC. WKH³6HFRQG([WHQVLRQ0RWLRQ´ EHLQJILOHGFRQ
FXUUHQWO\KHUHZLWKLQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH:HVWHUQ'LVWULFWRI7H[DV6DQ
$QWRQLR'LYLVLRQLQWKHFDVH,QUH35$&6,QVWLWXWH6DQ$QWRQLR//&et al&DVH1R
 MRLQWO\DGPLQLVWHUHG &DSLWDOL]HGWHUPVXVHGKHUHLQKDYHWKHPHDQLQJVJLYHQWRWKHPLQ
WKH6HFRQG([WHQVLRQ0RWLRQ

3URYLGHGWKDWWKH6HFRQG([WHQVLRQ0RWLRQLVJUDQWHGDQGWKH6HFRQG([WHQGHG3UHVHUYDWLRQ2U
GHULVHQWHUHG6SRQVRUHOHFWVWREHD6HFRQG7HUP&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRUDQGDJUHHV
 L WRFRQWLQXHWREHERXQG RUWREHERXQGLQWKHFDVHRIDQ(OHFWLQJ1RQ3UHVHUYDWLRQ6SRQVRU 
E\DOORIWKHWHUPVDQGFRQGLWLRQVRIWKH3UHVHUYDWLRQ2UGHUDSSOLFDEOHWR3UHVHUYDWLRQ6SRQVRUV
 DVPRGLILHGE\WKH([WHQGHG3UHVHUYDWLRQ2UGHUDQGWKH6HFRQG([WHQGHG3UHVHUYDWLRQ2UGHU 
DQGWKH([WHQGHG3UHVHUYDWLRQ2UGHU LL WREHERXQGE\WKH6HFRQG([WHQGHG3UHVHUYDWLRQ2U
GHU LLL WRSD\RQDWLPHO\EDVLVLWVSURUDWDVKDUHRIDOO67&36&RPPRQ&RVWVLQFXUUHGE\
/DFKPDQRU7KLUG3DUW\6WRUDJH3URYLGHUVRQEHKDOIRIWKH6HFRQG7HUP&RQWLQXLQJ3UHVHUYD
WLRQ6SRQVRUVGXULQJWKH6HFRQG7HUP([WHQGHG3UHVHUYDWLRQ3HULRG LY WRSD\LWVSURUDWD
VKDUHRIWKH0RWLRQ&RVWVSURPSWO\XSRQZULWWHQUHTXHVWE\/DFKPDQDQG Y WRLQGHPQLI\GH
IHQGDQGKROG/DFKPDQKDUPOHVVRQDSURUDWDEDVLVIRUDQ\GHPDQGVFODLPVORVVHVGDPDJHV
MXGJPHQWVH[SHQVHVDQGFRVWV LQFOXGLQJDWWRUQH\V¶IHHV DULVLQJRXWRIRUUHODWLQJWRWKH,URQ
0RXQWDLQ&ODLPDQGRUWKH8QSDLG,URQ0RXQWDLQ/RFDWLRQV

6SRQVRU¶VHOHFWLRQKHUHXQGHUGRHVQRWDOWHUDPHQGPRGLI\UHSHDORUYRLGWKHUHOHDVHVRI/DFK
PDQ$EUD[DVWKH)XQGLQJ6SRQVRUV/LOO\WKH7UXVWHHDQGWKH/HQGHUVJLYHQE\6SRQVRUZKHQ
LWHOHFWHGWREHFRPHD3UHVHUYDWLRQ6SRQVRUDQGD&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRUDQG6SRQVRU

Y

KHUHE\FRQILUPVWKHFRQWLQXHGYDOLGLW\RIWKRVHUHOHDVHV1RWZLWKVWDQGLQJWKHIRUHJRLQJE\FRP
SOHWLQJDQGUHWXUQLQJWKLV6HFRQG([WHQGHG3UHVHUYDWLRQ(OHFWLRQ)RUP6SRQVRUKHUHE\UHOHDVHV
/DFKPDQIURPDQ\DQGDOOH[SHQVHVFODLPVOLDELOLWLHVREOLJDWLRQVGHPDQGVDFWLRQVRUFDXVHV
RIDFWLRQRIZKDWHYHUNLQGRUQDWXUH ZKHWKHUNQRZQRUXQNQRZQOLTXLGDWHGRUXQOLTXLGDWHGGL
UHFWRULQGLUHFWIL[HGRUFRQWLQJHQWDVVHUWHGRUXQDVVHUWHGGLVFORVHGRUXQGLVFORVHGPDWXUHGRU
XQPDWXUHGH[LVWLQJRUKHUHDIWHUDULVLQJLQODZHTXLW\DQGRWKHUZLVHDQGQRWZLWKVWDQGLQJWKH
PDQQHULQZKLFKWKHVDPHVKDOOKDYHDULVHQ EDVHGRQIDFWVDULVLQJRURFFXUULQJDWDQ\WLPH
WKURXJKDQGLQFOXGLQJWKH(IIHFWLYH'DWHRIWKH6HFRQG([WHQGHG3UHVHUYDWLRQ2UGHUWKDWUHODWH
WRWKH&DVHVWKH3UHVHUYDWLRQ2UGHURUWKH([WHQGHG3UHVHUYDWLRQ2UGHULQFOXGLQJVSHFLILFDOO\
WKH,URQ0RXQWDLQ&ODLP ³&ODLPV´ SURYLGHGKRZHYHUWKDWWKHIRUHJRLQJUHOHDVHVKDOOQRWEH
FRQVWUXHGWRUHOHDVH/DFKPDQIURPDQ\&ODLPRUREOLJDWLRQDULVLQJXQGHURUSXUVXDQWWRRUOLD
ELOLW\IRUFRPSHQVDWRU\GDPDJHVIRUWKHPDWHULDOEUHDFKRIWKH3UHVHUYDWLRQ2UGHUWKH([WHQGHG
3UHVHUYDWLRQ2UGHUWKH6HFRQG([WHQGHG3UHVHUYDWLRQ2UGHURUDQ\RWKHUIXWXUHRUGHURIWKH
&RXUWHQWHUHGLQWKHVH&DVHV LQFOXGLQJDQ\DJUHHPHQWDSSURYHGE\VXFKDQRUGHU RUDQ\RWKHU
ZULWWHQDJUHHPHQWVEHWZHHQ/DFKPDQDQGDQ\5HVHDUFK6SRQVRUVRUDQ\&ODLP ZKHWKHU
DJDLQVWLWVHOIRUDQRWKHUSHUVRQIRUZKLFKLWLVYLFDULRXVO\OLDEOHDVDPDWWHURIODZRUFRQWUDFW IRU
OHJDOO\HVWDEOLVKHGJURVVQHJOLJHQFHRUZLOOIXOPLVFRQGXFW
                 
$Q\6HFRQG7HUP&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRUWKDWIDLOVWRSD\LWVSURUDWDVKDUHRI
DQ\DGGLWLRQDO67&36&RPPRQ&RVWVZLWKLQVL[W\  GD\VDIWHUUHFHLYLQJZULWWHQQRWLFH
VKDOOFHDVHEHLQJD6HFRQG7HUP&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRUDQGVKDOOEHGHHPHGWR
KDYHDEDQGRQHGDQGFRQVHQWHGWRWKHGHVWUXFWLRQRIDQ\RILWV6SRQVRU3URSHUW\DVRIVXFK
VL[WLHWKGD\$Q\&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRUWKDWGRHVQRWEHFRPHD6HFRQG7HUP
&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRUVKDOOEHGHHPHGWRKDYHDEDQGRQHGDQGFRQVHQWHGWRWKH
GHVWUXFWLRQRIDQ\RILWV6SRQVRU3URSHUW\RQRUDIWHUWKHQLQHW\ILUVWGD\IROORZLQJRFFXU
UHQFHRIWKH(IIHFWLYH'DWHRIWKH6HFRQG([WHQGHG3UHVHUYDWLRQ2UGHU7KHIRUHJRLQJFDW
HJRULHV RI 5HVHDUFK 6SRQVRU DUH GHILQHG LQ WKH 6HFRQG ([WHQGHG 3UHVHUYDWLRQ 2UGHU DV
³$EDQGRQLQJ&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRUV´7KH6HFRQG([WHQGHG3UHVHUYDWLRQ2U
GHUIXUWKHUSURYLGHVWKDWQRQHRI/DFKPDQWKH7KLUG3DUW\6WRUDJH3URYLGHUVWKH3UHVHU
YDWLRQ 6SRQVRUV WKH &RQWLQXLQJ 3UHVHUYDWLRQ 6SRQVRUV WKH 6HFRQG 7HUP &RQWLQXLQJ
3UHVHUYDWLRQ6SRQVRUVRUDQ\RIWKHLU5HODWHG3DUWLHVVKDOOKDYHDQ\OLDELOLW\ZKDWVRHYHUWR
DQ\$EDQGRQLQJ&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRU
                 

      :+(5()25(WKHXQGHUVLJQHGKHUHE\DJUHHVWRDOORIWKHWHUPVDQGFRQGLWLRQVVHWIRUWK
DERYHDQGLQWKH6HFRQG([WHQGHG3UHVHUYDWLRQ2UGHUDQGGHVLUHVWRPDNHWKHHOHFWLRQWREHD
6HFRQG7HUP&RQWLQXLQJ3UHVHUYDWLRQ6SRQVRU
               
                    
BBBBBBBBBBBBBBBBBBBBBBBBBB
$OYRJHQ,QF$OYRJHQ3LQH%URRN//&
$QGUHD6ZHHW6HFUHWDU\
XVOHJDO#DOYRJHQFRP

Y
DocuSign Envelope ID: 981FF270-E8BF-4CE8-83CA-53E85099EE0D
                                                             EXHIBIT B
                                   IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE WESTERN DISTRICT OF TEXAS
                                             SAN ANTONIO DIVISION
                                           §
              In re:                       §                        CHAPTER 7 CASE
                                           §
              PRACS INSTITUTE SAN ANTONIO, §                        CASE NO. 13-50743
              LLC, et al.,                 §
                                           §                        (Jointly Administered)
                               Debtors.    §
                             SECOND EXTENDED PRESERVATION ELECTION FORM
            This Second Extended Preservation Election Form is submitted by Sandoz Inc. (“Sponsor”) pur-
            suant to paragraph 26 of the MOTION TO EXTEND THE EXTENDED PRESERVATION PE-
            RIOD UNDER THE ORDER GRANTING MOTION TO EXTEND ORDER GRANTING TRUS-
            TEE’S MOTION FOR APPROVAL OF THE TRANSFER OF CUSTODY OF CERTAIN SPON-
            SOR PROPERTY TO LACHMAN CONSULTANT SERVICES, INC. (the “Second Extension Mo-
            tion”) being filed concurrently herewith in the United States Bankruptcy Court for the Western
            District of Texas, San Antonio Division, in the case In re PRACS Institute San Antonio, LLC, et
            al., Case No. 13-50743 (jointly administered). Capitalized terms used herein have the meanings
            given to them in the Second Extension Motion.
            Provided that the Second Extension Motion is granted and the Second Extended Preservation Or-
            der is entered, Sponsor elects to be a Second Term Continuing Preservation Sponsor and agrees
            (i) to continue to be bound (or to be bound, in the case of an Electing Non-Preservation Sponsor)
            by all of the terms and conditions of the Preservation Order applicable to Preservation Sponsors
            (as modified by the Extended Preservation Order and the Second Extended Preservation Order)
            and the Extended Preservation Order, (ii) to be bound by the Second Extended Preservation Or-
            der, (iii) to pay on a timely basis its pro rata share of all STCPS Common Costs incurred by
            Lachman or Third-Party Storage Providers on behalf of the Second Term Continuing Preserva-
            tion Sponsors during the Second Term Extended Preservation Period, (iv) to pay its pro rata
            share of the Motion Costs promptly upon written request by Lachman; and (v) to indemnify, de-
            fend and hold Lachman harmless on a pro rata basis, for any demands, claims, losses, damages,
            judgments, expenses and costs (including attorneys’ fees) arising out of or relating to the Iron
            Mountain Claim and/or the Unpaid Iron Mountain Locations. Assuming nine (9) Continuing
            Preservation Sponsors elect to become Second Term Continuing Preservation Sponsors, the Sec-
            ond Extended Preservation Sponsor Payment is approximately $43,334 plus and the pro rata
            share of Motion Costs is approximately $2,000, therefore, the total estimated Second Term Con-
            tinuing Preservation Sponsor Payment plus pro rata share of Motion Costs is $45,334 per Second
            Term Continuing Preservation Sponsor. Notwithstanding the foregoing, the actual amounts of
            7603910v.5
DocuSign Envelope ID: 981FF270-E8BF-4CE8-83CA-53E85099EE0D
            the Second Extended Preservation Sponsor Payment and Motion Costs will be determined in ac-
            cordance with the Second Extended Preservation Order once the final number of Second Term
            Continuing Preservation Sponsors has been determined.
            Sponsor’s election hereunder does not alter, amend, modify, repeal, or void the releases of Lach-
            man, Abraxas, the Funding Sponsors, Lilly, the Trustee and the Lenders given by Sponsor when
            it elected to become a Preservation Sponsor and a Continuing Preservation Sponsor, and Sponsor
            hereby confirms the continued validity of those releases. Notwithstanding the foregoing, by com-
            pleting and returning this Second Extended Preservation Election Form, Sponsor hereby releases
            Lachman from any and all expenses, claims, liabilities, obligations, demands, actions or causes
            of action of whatever kind or nature (whether known or unknown, liquidated or unliquidated, di-
            rect or indirect, fixed or contingent, asserted or unasserted, disclosed or undisclosed, matured or
            unmatured, existing or hereafter arising, in law, equity and otherwise, and notwithstanding the
            manner in which the same shall have arisen) based on facts arising or occurring at any time
            through and including the Effective Date of the Second Extended Preservation Order that relate
            to the Cases, the Preservation Order or the Extended Preservation Order, including specifically,
            the Iron Mountain Claim (“Claims”); provided, however, that the foregoing release shall not be
            construed to release Lachman from any Claim or obligation arising under or pursuant to, or lia-
            bility for compensatory damages for the material breach of, the Preservation Order, the Extended
            Preservation Order, the Second Extended Preservation Order or any other future order of the
            Court entered in these Cases (including any agreement approved by such an order), or any other
            written agreements between Lachman and any Research Sponsors; or any Claim (whether
            against itself or another person for which it is vicariously liable as a matter of law or contract) for
            legally-established gross negligence or willful misconduct.
            Any Second Term Continuing Preservation Sponsor that fails to pay its pro-rata share of
            any additional STCPS Common Costs within sixty (60) days after receiving written notice
            shall cease being a Second Term Continuing Preservation Sponsor and shall be deemed to
            have abandoned and consented to the destruction of any of its Sponsor Property as of such
            sixtieth day. Any Continuing Preservation Sponsor that does not become a Second Term
            Continuing Preservation Sponsor shall be deemed to have abandoned and consented to the
            destruction of any of its Sponsor Property on or after the ninety-first day following occur-
            rence of the Effective Date of the Second Extended Preservation Order. The foregoing cat-
            egories of Research Sponsor are defined in the Second Extended Preservation Order as
            “Abandoning Continuing Preservation Sponsors”. The Second Extended Preservation Or-
            der further provides that none of Lachman, the Third-Party Storage Providers, the Preser-
            vation Sponsors, the Continuing Preservation Sponsors, the Second Term Continuing
            Preservation Sponsors or any of their Related Parties shall have any liability whatsoever to
            any Abandoning Continuing Preservation Sponsor.
                                              [SIGNATURE PAGE FOLLOWS]
            7603910v.5
DocuSign Envelope ID: 981FF270-E8BF-4CE8-83CA-53E85099EE0D
                   WHEREFORE, the undersigned hereby agrees to all of the terms and conditions set forth
            above and in the Second Extended Preservation Order, and desires to make the election to be a
            Second Term Continuing Preservation Sponsor.
               Sandoz Inc.
              (Print name of Research Sponsor)                (Signature of Authorized Individual)
              Karen McDonnell                                 karen.mcdonnell@sandoz.com
              (Print name of individual completing this       (Print e-mail address of individual complet-
              Second Extended Preservation Election           ing this Second Extended Preservation
              Form)                                           Election Form)
              May 29, 2019
              (Print date)
            7603910v.5
